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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


                                                    MDL No. 16-2738 (FLW) (LHG)
   IN RE: JOHNSON & JOHNSON
   TALCUM POWDER PRODUCTS                           NOTICE OF DEFENDANT PERSONAL
   MARKETING, SALES PRACTICES, AND                  CARE PRODUCTS COUNCIL’S MOTION
   PRODUCTS LIABILITY LITIGATION                    FOR SUMMARY JUDGMENT

   This Document Applies to All Actions Filed       Return Date: June 3, 2019 at 9:00 a.m.
   Against Defendant Personal Care Products
   Council                                          ORAL ARGUMENT REQUESTED


                   DEFENDANT PERSONAL CARE PRODUCTS COUNCIL’S
                   NOTICE OF ITS MOTION FOR SUMMARY JUDGMENT

            PLEASE TAKE NOTICE that, at 9:00 a.m. on June 3, 2019, or such other time and

   date set by the Court, Defendant Personal Care Products Council, by its undersigned counsel,

   will move before the Honorable Freda L. Wolfson, U.S.D.J., United States District Court for the

   District of New Jersey, Clarkson S. Fisher Building & U.S. Courthouse, 402 East State Street,

   Room 2020, Trenton, NJ 08608, for an entry of an Order granting Defendant Personal Care

   Products Council’s Motion for Summary Judgment.

            PLEASE TAKE FURTHER NOTICE that, in support of its motion, Defendant

   Personal Care Products Council will rely on the Memorandum of Law, Statement of Facts and

   attached exhibits submitted herewith. A proposed form of Order is also submitted herewith.

            PLEASE TAKE FURTHER NOTICE that Defendant Personal Care Products Council

   requests oral argument on its motion.




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            Dated: May 6, 2019       Respectfully submitted,


                                     PERSONAL CARE PRODUCTS COUNCIL


                                     By:     /s/ Thomas T. Locke
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                                  CERTIFICATE OF SERVICE

            I hereby certify that a copy of the foregoing document and supporting materials weres
   filed electronically with the Clerk of the Court using the CM/ECF system and is available for
   viewing and downloading from the CM/ECF system. The forgoing documents were also served
   upon all counsel of record via the CM/ECF system on this 6th day of May, 2019.

                                               SEYFARTH SHAW LLP
                                               Attorneys for Personal Care Products Council

                                               /s/ Thomas T. Locke

                                               Thomas T. Locke, Esq.




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